Case 18-31068-ABA                   Doc 50         Filed 02/27/20 Entered 02/27/20 04:52:58                                    Desc Main
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B 2100A (Form 2100A) (12/15)

                         UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEW JERSEY
In re: CHAD E. ZEIGLER                                                                          Case No. 18-31068
       CRYSTAL A. ZEIGLER

                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.
  THE BANK OF NEW YORK MELLON FKA THE BANK                                     THE BANK OF NEW YORK MELLON FKA THE BANK
        OF NEW YORK, AS TRUSTEE FOR THE                                              OF NEW YORK, AS TRUSTEE FOR THE
       CERTIFICATEHOLDERS OF CWALT, INC.,                                           CERTIFICATEHOLDERS OF CWALT, INC.,
  ALTERNATIVE LOAN TRUST 2006-HY11, MORTGAGE                                   ALTERNATIVE LOAN TRUST 2006-HY11, MORTGAGE
   PASS-THROUGH CERTIFICATES, SERIES 2006-HY11                                  PASS-THROUGH CERTIFICATES, SERIES 2006-HY11
            c/o Shellpoint Mortgage Servicing                                            c/o Bayview Loan Servicing, LLC


               Name of Transferee                                                              Name of Transferor

Name and Address where notices to transferee                                     Court Claim # (if known): 13-1
should be sent:                                                                  Amount of Claim: $140,217.58
NewRez LLC DBA Shellpoint Mortgage Servicing                                     Date Claim Filed: 12/27/2018
P.O. Box 10826
Greenville, SC 29603-0826
Phone: (800)365-7107
E-mail: mtgbk@shellpointmtg.com
Last Four Digits of Acct #: 2952                                                 Phone: 1-855-813-6597
                                                                                 Last Four Digits of Acct. #: 2330

Name and Address where transferee payments
should be sent (if different from above):
NewRez LLC DBA Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603-0826
Phone: (800)365-7107
E-mail: mtgbk@shellpointmtg.com
Last Four Digits of Acct #: 2952

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Arvind Nath Rawal
     AIS Portfolio Services, LP as agent                                         Date 02/27/2020
         Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
